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8                         UNITED STATES DISTRICT COURT
9                        EASTERN DISTRICT OF CALIFORNIA
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12   ROSS SANDERS, Individually;          Civ. No. 2:17-01040 WBS CMK
     DONNA SANDERS, Individually;
13   DANIELLE ERIN NIELSEN,
     Individually and as co-
14   Successor in Interest for
     Decedent LUKE SANDERS; and
15   Ab. S., Ad. S., E.S., and
     L.S., all minors, through
16   their mother and Next Friend
     DANIELLE ERIN NIELSEN,
17   Individually and as co-
     Successors in Interest for
18   Decedent Luke Sanders,
19
                   Plaintiffs,
20   v.

21   COUNTY OF SISKIYOU, a public
     entity; SISKIYOU COUNTY
22   SHERIFF’S DEPUTY JOHN ZOOK;
     SISKIYOU COUNTY SHERIFF’S
23   DEPUTY JUAN RUIZ; and DOES 1-
     10, Individually, and Jointly
24   and Severally,

25                 Defendants.

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1                         STATUS (PRETRIAL SCHEDULING) ORDER

2          After reviewing the parties’ Joint Status Report, the court

3    hereby vacates the Status (Pretrial Scheduling) Conference

4    scheduled for September, 25, 2017, and makes the following

5    findings and orders without needing to consult with the parties

6    any further.

7               I.    SERVICE OF PROCESS

8               The named defendants have been served, and no further

9    service is permitted except with leave of court, good cause

10   having been shown under Federal Rule of Civil Procedure 16(b).

11              II.   JOINDER OF PARTIES/AMENDMENTS TO PLEADINGS

12              No further joinder of parties or amendment to pleadings

13   is permitted except with leave of court, good cause having been

14   shown under Federal Rule of Civil Procedure 16(b).         See Johnson

15   v. Mammoth Recreations, Inc., 975 F.2d 604 (9th Cir. 1992).

16              III. JURISDICTION/VENUE

17              Jurisdiction is predicated upon federal question

18   jurisdiction, 28 U.S.C. §§ 1331, 1343, because plaintiffs assert

19   claims arising under 42 U.S.C. §§ 1983 and 1988; Title II of the

20   Americans with Disabilities Act, 42 U.S.C. § 12132 et seq.; § 504
21   of the Rehabilitation Act, 29 U.S.C. §§ 794 and 794a et seq.; 42

22   USC §§ 2000d-7 and 12202; and the First, Fourth, and Fourteenth

23   Amendments to the United States Constitution.         Supplemental

24   jurisdiction is predicated upon 28 U.S.C. § 1367.         Venue is

25   undisputed and hereby found to be proper.

26              IV.   DISCOVERY
27              The parties agreed to serve the initial disclosures

28   required by Federal Rule of Civil Procedure 26(a)(1) by no later
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1    than September 15, 2017.

2               The parties shall disclose experts and produce reports

3    in accordance with Federal Rule of Civil Procedure 26(a)(2) by

4    June 22, 2018.    With regard to expert testimony intended solely

5    for rebuttal, those experts shall be disclosed and reports

6    produced in accordance with Rule 26(a)(2) by July 23, 2018.

7               All other discovery, including depositions for

8    preservation of testimony, is left open, save and except that it

9    shall be so conducted as to be completed by August 22, 2018.           The

10   word “completed” means that all discovery shall have been

11   conducted so that all depositions have been taken and any

12   disputes relevant to discovery shall have been resolved by

13   appropriate order if necessary and, where discovery has been

14   ordered, the order has been obeyed.       All motions to compel

15   discovery must be noticed on the magistrate judge’s calendar in

16   accordance with the local rules of this court and so that such

17   motions may be heard (and any resulting orders obeyed) not later

18   than August 22, 2018.

19              According to Federal Rule of Civil Procedure

20   30(a)(2)(A), parties may take up to ten depositions unless they
21   enter into a stipulation or obtain leave of court to take more.

22   Here, the parties state that an increase in the number of

23   depositions is appropriate because of the number of plaintiffs,

24   defendants, witnesses, and first responders.         The parties agree

25   that each party shall be permitted to take twenty depositions.

26                Under Federal Rule of Civil Procedure 30(d)(1),
27   “unless otherwise stipulated or ordered by the court, a

28   deposition is limited to 1 day of 7 hours.”        The parties agree
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1    that each party shall be permitted to take ten depositions of up

2    to seven hours each, and ten depositions of up to three hours

3    each.

4               V.    MOTION HEARING SCHEDULE

5               All motions, except motions for continuances, temporary

6    restraining orders, or other emergency applications, shall be

7    filed on or before October 15, 2018.       All motions shall be

8    noticed for the next available hearing date.         Counsel are

9    cautioned to refer to the local rules regarding the requirements

10   for noticing and opposing such motions on the court’s regularly

11   scheduled law and motion calendar.

12              VI.    FINAL PRETRIAL CONFERENCE

13              The Final Pretrial Conference is set for January 14,

14   2019, at 1:30 p.m. in Courtroom No. 5.        The conference shall be

15   attended by at least one of the attorneys who will conduct the

16   trial for each of the parties and by any unrepresented parties.

17              Counsel for all parties are to be fully prepared for

18   trial at the time of the Pretrial Conference, with no matters

19   remaining to be accomplished except production of witnesses for

20   oral testimony.    Counsel shall file separate pretrial statements,
21   and are referred to Local Rules 281 and 282 relating to the

22   contents of and time for filing those statements.         In addition to

23   those subjects listed in Local Rule 281(b), the parties are to

24   provide the court with: (1) a plain, concise statement which

25   identifies every non-discovery motion which has been made to the

26   court, and its resolution; (2) a list of the remaining claims as
27   against each defendant; and (3) the estimated number of trial

28   days.
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1               In providing the plain, concise statements of

2    undisputed facts and disputed factual issues contemplated by

3    Local Rule 281(b)(3)-(4), the parties shall emphasize the claims

4    that remain at issue, and any remaining affirmatively pled

5    defenses thereto.     If the case is to be tried to a jury, the

6    parties shall also prepare a succinct statement of the case,

7    which is appropriate for the court to read to the jury. (feb 28

8               VII.    TRIAL SETTING

9               A jury trial is set for March 5, 2019 at 9:00 a.m. The

10   parties estimate that trial will last 20 days.

11              VIII.    SETTLEMENT CONFERENCE

12              A Settlement Conference will be set at the time of the

13   Pretrial Conference.     All parties should be prepared to advise

14   the court whether they will stipulate to the trial judge acting

15   as settlement judge and waive disqualification by virtue thereof.

16              Counsel are instructed to have a principal with full

17   settlement authority present at the Settlement Conference or to

18   be fully authorized to settle the matter on any terms.          At least

19   seven calendar days before the early Settlement Conference

20   counsel for each party shall submit a confidential Settlement
21   Conference Statement for review by the settlement judge.            If the

22   settlement judge is not the trial judge, the Settlement

23   Conference Statements shall not be filed and will not otherwise

24   be disclosed to the trial judge.

25              IX.     MODIFICATIONS TO SCHEDULING ORDER

26              Any requests to modify the dates or terms of this
27   Scheduling Order, except requests to change the date of the

28   trial, may be heard and decided by the assigned Magistrate Judge.
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1    All requests to change the trial date shall be heard and decided

2    only by the undersigned judge.

3    Dated:   September 20, 2017

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